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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SEBASTIAN J. PALLADINO                                            )
                 Plaintiff                                        )
                                                                  ) CIVIL ACTION
               v                                                  )
                                                                  )
HSBC BANK, U.S.A, N.A.; FREMONT HOME LOAN TRUST
2006 D; REAL INDUSTRY, INC., F/K/A FREMONT GENERAL
CORP., F/K/A SIGNATURE GROUP HOLDINGS, F/K/A
FREMONT REORGANIZING CORPORATION, F/K/A
FREMONT INVESTMENT AND LOAN; PIERCE AND
ASSOCIATES, P.C; LOCKE LORD LLP; OCWEN LOAN
SERVICING, LLC; WELLS FARGO BANK, N.A.;
                  Defendants

                                         COMPLAINT

       NOW COMES SEBASTIAN J. PALLADINO (“Mr. Palladino”), by and through his

attorneys of, the LAW OFFICE OF HERBERT HILL and complaining against the Defendants

states as follows:

                                   NATURE OF THE CASE

       1.      This is an action by Mr. Palladino seeking damages and costs against the

Defendants scheme to defraud and take Mr. Palladino’s home by a wrongful foreclosure which

violates federal and state laws.

       2.      As alleged below, Defendants conduct violates the Racketeer Influenced and

Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962(c) (“Count I”), the RICO conspiracy

provision, 18 U.S.C. § 1962(d) (“Count II”), Conspiracy (“COUNT III”), Aiding and Abetting

(COUNT IV), Truth in Lending Act (“TILA”) 15 U.S.C § 1601 et seq (Count V), Home

Ownership Equity Protection Act (“HOEPA”) (Count VI), Home Ownership Equity Protection

Act (“HOEPA”) 15 U.S.C. § 1639 et seq (Count VII), Illinois Consumer Fraud and Deceptive



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Business Practices Act (“ICFA”) 815 ILCS 505/2 et. seq, (Count VIII); and Intentional Infliction

of Emotional Distress (“COUNT IX”) all associated with a foreclosure action.

                                  JURISDICTION AND VENUE

       3.      Subject matter jurisdiction is conferred upon this Court by 18 U.S.C. § 1964(c),

15 U.S.C. § 1640(e), 28 U.S.C. § 1331, and 28 U.S.C. § 1337. The Court supplemental

jurisdiction over state law claims under 28 U.S.C. §1367.

       4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendants conduct

business in the Northern District of Illinois and all of the events or omissions giving rise to the

claims occurred within the Northern District of Illinois.

                                              PARTIES

       5.      Plaintiff SEBASTIAN J. PALLADINO (“Mr. Palladino”) is a natural person

residing within this Court’s jurisdiction at 917 Heathrow Lane, Naperville, IL 60540.

       6.      Non Party MARCELLA PALLADINO (“Ms. Palladino”) is a natural person

residing in this Court’s jurisdiction.

       7.      Defendant HSBC Bank, U.S.A., N.A. (“HSBC”) is a national banking association

with its principal place of business in McLean, Virginia. As described below, HSBC, either

directly and/or indirectly through its agents, employees, subsidiaries and/or related companies,

including without limitation HSBC Mortgage Corp., U.S.A, HSBC Bank U.S.A Trust, and

HSBC Mortgage Services, Inc., engaged in transactions related to the securitization of mortgage

loans of real property located within the state of Illinois.

       8.      Defendant Real Industry Inc., f/k/a Fremont General Corp., f/k/a Signature Group

Holdings, f/k/a Fremont Reorganizing Corporation f/k/a Fremont Investment and Loan




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(hereinafter “Fremont”) is a corporation with a principal place of business at 2727 East Imperial

Highway, Brea, California, 92821.

          9.    Defendant Fremont Home Loan Trust 2006-D, a New York common law trust,

formed by the depositor pursuant to the pooling and servicing agreement.

          10.   Defendant Fremont Mortgage Securities Corporation with a principal office

located at 2727 East Imperial Highway, Brea, California 92821.

          11.   Defendant Wells Fargo Bank, N.A. is a national banking association and maintains

corporate trust offices located at 9062 Old Annapolis Road, Columbia, Maryland 21045.

          12.   Defendant, Pierce & Associates, P.C. (“Pierce”) is a corporation that acts as a debt

collector, as defined by § 1692a(6) of the FDCPA, because it regularly uses the mails and/or the

telephone to collect, or attempt to collect, directly or indirectly, delinquent consumer debts.

Pierce’s principal purpose is to enforce security interests, and Pierce is thus a debt collector for

the purposes of § 1692f (6) as well as under the general definition of a debt collector under this

section.

          13.   Defendant Jill Rein, is a lawyer who works for Pierce and Associates, P.C. and at

all times participated in the scheme on behalf of her employers knowledge of said acts described

herein.

          14.   Defendant Amber Cowan is an Illinois notary and Supervisor for Pierce and

Associates, P.C. and at all times participated in the scheme on behalf of her employer’s

knowledge of said acts described herein.

          15.   Defendant, Locke Lord LLP. (“Locke Lord”) is a corporation that acts

as a debt collector, as defined by § 1692a(6) of the FDCPA, because it regularly uses the




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mails and/or the telephone to collect, or attempt to collect, directly or indirectly, delinquent

consumer debts. Locke Lord’s principal purpose is to enforce security interests, and Locke Lord

is thus a debt collector for the purposes of § 1692f (6) as well as under the general definition of a

debt collector under this section.

          16.   Defendant David Standa, is a lawyer who works for Locke Lord and at all times

participated in the scheme to defraud on behalf of his employers knowledge of said acts described

herein.

          17.   Defendant Irina Dashevsky, is a lawyer who works for Locke Lord and at all times

participated in the scheme on behalf of her employer’s knowledge of said acts described herein.

          18.   Defendant, Ocwen Loan Servicing, LLC (“Ocwen”) is a financial institution with

its principal place of business located at 1661 Worthington Road, Suite 100, West Palm Beach,

Florida 33146. Defendant transacts business in Illinois. Defendant's Illinois registered agent is

Illinois Corporation Service C, 801 Adlai Stevenson Drive, Springfield, Illinois 62703.

          19.   Non-Party Defendant, Litton Loan Servicing, LLC (“Litton”) is a financial

institution with its principal place of business located at 4828 Loop Central Drive, Houston, TX

77081.

          20.   Defendant Howard R. Handville is an employee or agent of Ocwen and at all times

participated in the scheme on behalf of his employers’ knowledge of said acts described herein.

          THE SECURITIZATION PROCESS FOR THE FREMONT TRUST 2006 D

          21.   The Fremont Trust 2006-D was established pursuant to the Pooling and Servicing

Agreement dated November 1, 2006.

          22.   Financing a home mortgage, at a fundamental level, has not changed much

in over a hundred years. Each mortgage loan consists of two parts: (1) a note, evidencing



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the debt owed; and (2) a mortgage, evidencing the security interest or collateral.

       23.     After the Great Depression, the government began purchasing mortgage

loans from financial institutions in order to inject more liquidity into the housing market

and encourage financial institutions to use that money to make additional mortgage loans.

       24.     More recently there was the development of the government sponsored

securitization market, primarily through Fannie Mae and to a lesser extent Freddie Mac. This was

followed by the development of the private non-government sponsored securitization market

called “private label” securitization.

       25.     By pooling thousands of mortgages together, the securitization process transforms

transforms relatively locked 30-year financial instruments into very dynamic and liquid financial

instruments. Bonds or Mortgage Backed Securities (“MBS”) are issued based upon the income

stream generated by the pool of mortgages, and then the MBS’ are sold to investors all over the

world. Meanwhile, the underlying mortgage loans are held in a trust for the benefit of these

various investors.

       26.     Although many entities and persons may be involved in the securitization

process and there may be slight variations, the broad framework of the securitization process is

always the same. It always includes five distinct actors: (1) the Issuing Entity- (Fremont Home

Loan Trust 2006-D); (2); the Depositor -(Fremont Mortgage Securities Corporation); (3) the

Sponsor/Originator/Servicer-(Fremont Investment and Loan), (4) the Master Servicer/Trust

Administrator/Custodian-(Wells Fargo Bank, N.A.) and (5) the Trustee-HSBC Bank USA, N.A.).

       27.     More specifically, in the securitization context when Mr. Palladino obtained his

loan, Fremont Investment and Loan (“FIL”) is supposed to hold Mr. Palladinos’ loan during

which it collects the mortgage loan payments from him.



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         28.   Then FIL is supposed to sell all rights, titles, and interests of the mortgages and

loans to Fremont Mortgage Securities Corporation (“FMSC”) who is allegedly acquiring loans for

the purpose of depositing the loans into the Fremont Home Loan Trust 2006-D (“Trust”).

         29.   Once FIL has obtained a sufficient number, value and diversity of mortgage loans,

it sells those loans to FMSC who in turns assigns and endorses all the mortgages and loans to the

trust.

         30.   Based upon the assumption that the mortgage loan was sold and deposited into the

Trust, Mr. Palladino began making payments to the Trust through the Servicer or Master Servicer

for the Trust. In this case, Defendant Wells Fargo was the Master Servicer of the Trust,

and responsible to ensure that the loans comprising the Trust were properly serviced.

         31.   Defendant Fremont, Litton and Ocwen were the servicers, and acted under the

supervision of Wells Fargo.

         32.   When Wells Fargo or one of the Servicers collected loan payments from Mr.

Palladino, Wells Fargo purportedly transferred those payments, less allowable deductions, to the

Trust, who then distributes those payments to each Trust’s beneficiaries, the Certificateholders.

         33.   Therefore, the Trust is primarily administered by two entities: HSBC, the Trustee,

who is the “face” of the Trust and the “Master Servicer which is Wells Fargo”, who – along with

its designated “Servicer” eg... Ocwen, Fremont, Litton – is the “face” of the Trust with borrowers

like Mr. Palladino.

         THE DUTIES OF THE MASTER SERVICER, TRUST ADMINISTARATOR
                              AND CUSTODIAN

         34.   Wells Fargo Bank will act as Master Servicer, Trust Administrator, and Custodian

under the pooling and servicing agreement. Wells Fargo Bank is a national banking association




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and a wholly-owned subsidiary of Wells Fargo & Company and a diversified financial services

company with approximately $482 billion in assets.

       35.     As with most trusts, the Pooling and Servicing Agreement (“PSA”) provides that

the last step in the mortgage conveyance process is the Depositor’s conveyance or sale of the

mortgage loans to the Trust for the benefit of the Certificateholders.

       35.     Under the PSA and its underlying agreements, Defendant Fremont, Litton, and

Ocwen, as the Servicer, had a duty to ensure that its mortgage servicing practices (including

collection procedures) were in conformance with those of prudent mortgage lending institutions

which service similar mortgage loans.

       36.     The PSA also imposed a duty on Defendant Wells Fargo, as the Master Servicer,

to “monitor the performance of Servicers Fremont, Litton, and Ocwen under the related Servicing

Agreements” and to “use its reasonable good faith efforts to cause the Servicer [Fremont] to duly

and punctually perform [its] duties and obligations.

       37.     As Trust Administrator, Wells Fargo Bank also is responsible for securities

administration, which includes pool performance calculations, distribution calculations and the

preparation of monthly distribution reports. Additionally, Wells Fargo Bank is responsible for the

preparation and filing of all REMIC tax returns on behalf of the Trust REMICs or other legal

entities formed pursuant to the pooling and servicing agreement and the preparation of monthly

reports on Form 10-D, current reports on Form 8-K and annual reports on Form 10-K that are

required to be filed with the Securities and Exchange Commission on behalf of the issuing Trust.

       38.     According to Wells Fargo, it has been engaged in the business of securities

administration since June 30, 1995 and has acted as trust administrator for all previous series of

publicly offered mortgage backed certificates issued by the Depositor. As of June 30, 2006, Wells



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Fargo was acting as securities administrator with respect to more than $894,773,136,436 of

outstanding residential mortgage-backed securities.

       39.     The pooling and servicing agreement requires that the Trust Administrator and the

Master Servicer at all times be the same person, so long as a Master Servicer is required by the

provisions of the pooling and servicing agreement.

       40.     As Custodian, Wells Fargo is responsible to hold and safeguard the mortgage notes

and other contents of the mortgage files on behalf of the Trustee and the Certificateholders.

                                FREMONT SUBPRIME LOANS

       41.     A loan that is made at a higher interest rate than most other loans. Subprime loans

are made to borrowers who do not qualify for ordinary loans because of bad credit history or

some other reason. There is a higher risk of default on subprime loans.

       42.     In 2007, the Federal Deposit Insurance Corporation (FDIC) found that Fremont

was operating without effective risk management policies and procedures in place in relation to

its subprime mortgage lending operations. The FDIC determined, among other things, that

Fremont had been operating without adequate subprime mortgage loan underwriting criteria, and

that it was marketing and extending subprime mortgage loans in a way that substantially

increased the likelihood of borrower default or other loss to the bank.

                                        ROBO-SIGNING

       43.     The national foreclosure crisis has revealed the widespread use by mortgage

servicers (including Defendant Wells Fargo, the Master Servicer of the Trust, and Ocwen, the

Servicer) of what has infamously become known as “robo-signing.” Robo-signing is the practice

of signing mortgage assignments, satisfactions and other mortgage related documents in




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assembly-line fashion, often with a name other than the affiant’s own, and swearing to personal

knowledge of facts of which the affiant has no knowledge.

       44.     In October 2010, following revelations regarding the widespread use of robo-

signed affidavits in foreclosure proceedings throughout the United States, state Attorneys General

formed a coalition to investigate the problem. The state Attorneys General subsequently

partnered with the federal government in investigating and negotiating a settlement with

mortgage servicers, including the Master Servicer of the Trust, Wells Fargo.

       45.     According to the Congressional Oversight Panel’s November Oversight Report,

“Affidavits such as the ones involved in the foreclosure irregularities are statements made

under oath and thus clearly fall within the scope of the perjury statutes.

       46.     On April 13, 2011, the Federal Reserve Board signed and published twelve

consent orders (the “Federal Reserve Consent Orders”), which found that Wells Fargo engaged in

“unsafe or unsound practices.” In addition, the United States Comptroller of the Currency entered

into consent orders with Defendant Wells Fargo. In the OCC Consent Order, the government

found that Wells Fargo:

               1)     Filed or caused to be filed in state courts and federal courts
                      affidavits executed by its employees or employees of third-
                      party service providers making various assertions, such as the
                      ownership of the mortgage note and mortgage in which the
                      affiant represented that the assertions in the affidavit were made
                      based on personal knowledge or based on a review by the
                      affiant of the relevant books and records, when, in many cases,
                      they were not based on such knowledge or review;

               2)     Litigated foreclosure proceedings and initiated non-judicial
                      foreclosure proceedings without always ensuring that either the
                      promissory note or the mortgage document were properly
                      endorsed or assigned and, if necessary, in the possession of the
                      appropriate party at the appropriate time; and




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               3)    Failed to sufficiently oversee outside counsel and other party
                     providers handling foreclosure-related services.

         47.   Reuters published a special report on July 19, 2011, stating that notwithstanding

the servicers’ obligations notwithstanding the servicers’ obligations under the Federal Reserve and

OCC Consent Orders, “Reuters has found at least five that in recent months have filed foreclosure

documents of questionable validity including the Trust’s Master Servicer, Wells Fargo.”

         48.   Defendant Ocwen has engaged in similar servicing practices. According to a

Consent Order entered with the Consumer Financial Protection Bureau (CFPB) in 2012, it found

that Ocwen:

               1)   prepared, executed, notarized, and presented false and misleading
                    documents, filing false and misleading documents with courts
                    and government agencies, or otherwise using false or misleading
                    documents as part of the foreclosure process (including, but not
                    limited to, affidavits, declarations, certifications, substitutions of
                    trustees, and assignments); and

               2)   prepared, executed, notarized, and filed affidavits in foreclosure
                    proceedings, whose affiants lacked personal knowledge of the
                    assertions in the affidavits and did not review any information or
                    documentation to verify the assertions in such affidavits.

         49.   On information and belief, and as a result of Defendants’ activities in these and

other matters, Defendant Wells Fargo and Ocwen filed in county recording or land offices and in

courts flawed, misleading, improper and arguably unlawful documents as set forth in the above

referenced Consent Orders with regards to Wells Fargo and Ocwen.

         50.   In addition to robo-signing, government investigations and reports have revealed

other wide-spread servicing breaches and abuses involving misconduct by the servicers of the

Trust.




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                         TOLLING THE STAUTE OF LIMITATIONS
                              Fraudulent Concealment Tolling

       51.     Any applicable statute of limitations have been tolled by Wells Fargo and its

Servicers active concealment, denial to produce discovery, and the misleading actions as alleged

herein. Mr. Palladino could not have reasonably discovered the true nature of Wells Fargo’s

actions and its scheme to defraud until discovery was tendered on September 15, 2014 and on

September 16, 2015.

       52.     Wells Fargo and its servicers are knowingly, affirmatively, and are still actively

concealing the true nature of who owns Mr. Palladinos Note and Mortgage, when and if it was

assigned, and if so, to whom. Furthermore, they have fraudulently produced an endorsed Note

since the start of litigation in the state court foreclosure proceeding.

                                        Discovery Rule

       53.     The cause of actions here did not accrue until Mr. Palladino received the Pooling

and Servicing Agreement (PSA) on September 16, 2015 and was able to review the PSA and the

Free Writing Prospectus and then discovered the fraudulent scheme to steal his property

orchestrated by Wells Fargo and its co-conspirators.

                                       Estoppel

       54.     Based on the foregoing, Wells Fargo, Ocwen, and Fremont is estopped from

relying on any statutes of limitations as a defense in this cause of action.

                                 STATEMENT OF FACTS

       55.     In January 2001, the Palladinos’ filed a chapter 13 bankruptcy to consolidate their

bills and reduce their monthly obligations.

       56.     In January, 2005, the Palladinos’ applied to Fremont Investment & Loan (“FIL”)

for a loan to refinance their existing mortgage. As a condition of the approval, the chapter 13


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balance had to be paid off.

       57.       FIL approved the Palladinos’ loan on February 28, 2005, paid the chapter 13

bankruptcy trustee, thus obtaining a dismissal of the chapter 13.

       58.       On or about April or May of 2006, the Palladinos contacted FIL to refinance their

existing mortgage with FIL to lower their monthly mortgage payments.

       59.       Mr. Palladino spoke to Troy Malek, an employee at FIL who referred Mr.

Palladino to Ann Wachtel of Maywood mortgage who assisted with the refinance application

process.

       60.       Although the intent was for Mr. and Mrs. Palladino to refinance the mortgage as

joint applicants, due to Mr. Palladinos’ employment situation and credit card obligations, the loan

could only be approved with Ms. Palladinos’ information.

       61.       Mr. Palladino faxed Ms. Palladinos’ 1003 application, check stubs, W2’s and bank

statements to Ann Wachtel at Maywood Mortgage. (attached hereto as Exhibit 1 is a true and

accurate copy of the application sent)

       62.       On August 18, 2006, FIL provided a preliminary Truth in Lending disclosure

statement with an 8.229% Annual Percentage Rate. Exhibit 2 (see payment schedule below)


           Payments            Payment            Payments Begin

           36                  $1,878.39          10/1/06

           323                 $2,803.00          10/1/09

           1                   $2,796.00          9/1/36


       63.       On August 28, 2006, FIL approved the Palladinos’ for a subprime loan with a

95% Loan to Value ratio, debt-to-income ratio in excess of 80%, and rated them A+.Exhibit 3

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        64.     The loan was an adjustable rate mortgage (ARM) in the amount of $313,500.00,

listing the interest at 7.19% until September 2009 when the interest rate was subject to change

every six months, up to a maximum of 13.19%. The monthly payment was $1,878.39 which was

calculated as interest only. Exhibit 4

        65.     At the closing, the Palladinos’ were provided a final 1003 that was different than

the original 1003 provided on August 18, 2006. Exhibit 5

Description of entry                                                   Changes
                                                    Final 1003
                               Original 1003
Amount of Existing Lien        $277,089.00          $197,739.00        ($79,350.00)

Total Assets                   $330,400.00          $660,400.00        +$330,000.00

Total Liabilities              $305,034.00          $5,378.00          ($299,656.00)

Net Worth                      $25,366.00           $655,022.00        +$629,656.00

Fremont I&L Balance            $191,898.84          $197,739.00        +$5,840.16

Cap One Auto Finance           $14,541.83           $14,642.00         +$100.17

GEMN/Mohawk                    no entry             $2,000.00          +$2,000.00

                               $90,555.00           $0.00              ($90,555.00)
Schedule of Liabilities
Mortgages & Liens              $276,898.84          $197,739.00        ($79,159.84)

Mortgage Payments              $2,277.56            $1,238.00          ($1,039.56)


        66.     On August 28, 2006, FIL provided a final Truth in Lending disclosure statement

with a 9.320% Annual Percentage Rate. Exhibit 6 (see payment schedule below)

  Payments                 Payment             Payments Begin
        36          $1,567.50                  11/1/06
        323         $2,553.14                  11/1/09
        1           $2,551.12                  10/1/36


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       67.     In March 2007, the Federal Deposit Insurance Corporation (“FDIC”) ordered a

cease and desist against FIL because it was offering subprime mortgage loans in a way that

substantially increased the likelihood of borrower default or other loss to the bank.

       68.     On May 5, 2008, FIL filed a foreclosure complaint in DuPage County, case #

2008 CH 1730 through Codilis and Associates, P.C.

       69.     FIL attached to the complaint a copy of the Note that was unendorsed. Exhibit 7

       70.     In response to the foreclosure complaint, Mr. Palladino contacted the Illinois

Attorney General, who in turn contacted FIL.

       71.      FIL offered the Palladinos’ a loan modification with a significantly

higher monthly payment than their current existing monthly payment.

       72.     On June 18, 2008, Fremont General (the parent company of FIL) filed

Bankruptcy and FIL ceased to exist.

       73.     On July 11, 2008, FIL voluntarily withdrew its foreclosure complaint.

       74.     On November 17, 2008, HSBC Bank USA, N.A., as Trustee Under the Pooling

and Servicing Agreement dated as of November 1, 2006 for the Fremont Home Loan Trust 2006-

D (“HSBC”) filed a filed a foreclosure complaint in DuPage County, case # 2008 CH 4548

through Pierce and Associates, P.C.

       75.     In its complaint, HSBC Bank alleged that it was the “legal holder, agent or

nominee of the legal holder, of the indebtedness” and that it was the “owner, agent or nominee of

the owner, of the Mortgage given as security.”

       76.     The Note attached to this complaint was unendorsed. Exhibit 8

       77.     Mr. Palladino contacted several attorneys about defending him in the foreclosure

action, however all the attorneys required a minimum $5,000.00 retainer fee.



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       78.    Mr. Palladino went to the Wheaton Law Library and after a few weeks of

researching and reading was able to prepare an answer to HSBC’s foreclosure complaint.

       79.     On December 1, 2008, Mr. Palladino was terminated from his employment as a

result of missing work.

       80.     On December 15, 2008, Mr. Palladino filed his answer to the foreclosure

complaint.

       81.     On March 3, 2009, Mr. Palladino filed a Motion to Compel discovery.

       82.     On July 10, 2009, HSBC filed its Motion for Summary Judgment, and attached a

supplemental affidavit with an attached assignment alleging that MERS, as nominee for Fremont

purportedly, “did hereby assign” and deliver to HSBC “prior to 11/13/08” the described mortgage

“[t]ogether with all rights and interest in the same and the premises therein and the note or

obligation thereby secured” and that “[t]his assignment is made without recourse and without

representation or warranty” by assignor. Exhibit 9

       83.     The purported fraudulent assignment was signed by Jill Rein as “certifying

officer” for MERS, and was notarized by Amber Cowan. It contained a stamp which appeared to

reflect that it was recorded with the Du Page County Recorder on December 17, 2008.

       84.     In opposition to summary judgment, the Palladinos submitted an affidavit from

Forensic accountant David P. Sweeney. He attested that under the “Pooling and Servicing

Agreement Dated as of November 1, 2006, Fremont Home Loan Trust 2–6-D,” Fremont was the

only proper party to bring a foreclosure action in the event of default. He opined that the

mortgage and note continued to be Fremont’s property. Exhibit 10

       85.     Following oral argument, the trial court granted HSBC Bank’s motion for

Summary judgment and entered a judgment of foreclosure and sale.



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         86.    In June, 2010, Mr. Palladino secure a job for ADT.

         87.    In October of 2010, Mr. Palladino was injured at work and had to take a six month

leave of absence to have hip replacement surgery.

         88.    On May 31, 2011, Ms. Palladino filed an order of protection against Mr. Palladino

alleging spousal abuse.

         89.    Mr. Palladino was arrested and spent five days in solitary confinement in the

DuPage county jail.

         90.    Mr. Palladino was in constant pain as a result of his hip surgery and no medication.

         91.    Mr. Palladino was able to post bail, but a restraining order was in effect which did

not allow him to go home.

         92.    As a result of the restraining order, Mr. Palladino had to sleep in his car for a short

time.

         93.    On April 6, 2011, Kropik, Papuga & Shaw entered a substitute appearance on

behalf of HSBC.

         94.    The Palladinos’ appealed and on April 29, 2011 the Appellate court reversed the

trial court’s granting of summary judgment in HSBC Bank’s favor and remand for further

proceedings. HSBC Bank USA, Nat. Ass’n v. Palladino, 1 N.E.3d 666,408 Ill. App.3d 1128

(2011)

         95.    On June 20, 2011, Ms. Palladino filed a Petition for Dissolution of Marriage as a

direct and proximate cause of the ongoing litigation in regards to their property and the stress and

strain it had caused on their marriage.

         96.    On February 29, 2012, Theodore Woerthwein filed an appearance on behalf of the

Palladinos’.



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        97.    On May 1, 2012, the Dissolution of Marriage was granted and Mr. Palladino

granted was awarded sole possession of the property thus making him liable for the debts and

costs incurred in regards to the property and releasing Ms. Palladino from all claims or

obligations associated with the property.

        98.    In November 2012, discovery was requested for the third time on behalf of Mr.

Palladino.

        99.    On January 18, 2013, Morris Laing Evans Brock & Kennedy filed an additional

appearance on behalf of HSBC.

        100.   On January 14, 2014, Prairie State Legal filed an appearance of behalf of Mr.

Palladino and initiated a discovery request for the fourth time.

        101.   On September 15, 2014, Justin Carter from Morris Laing Evans Brock &

Kennedy produced partial discovery to Joseph Miller from Prairie State Legal.

        102.   The Note provided in discovery was unendorsed and there was an unnumbered

fifth page reflecting an undated stamp with the words, “Pay to the order of [blank] without

recourse,” with signature above the words: “Fremont Investment & Loan Doug Pollock Assistant

Vice President.” Exhibit 11, a true and accurate copy of the Note provided from Just Carter.

        103.   On April 13, 2015, HSBC filed a Motion for Protective Order objecting to certain

discovery requests alleging the documents requested was not relevant nor would it lead to the

discovery of any admissible evidence.

        104.   On May 1, 2015, Mr. Palladino filed an amended motion to dismiss to HSBC’s

complaint.

        105.   On May 13, 2015, Locke Lord LLP filed an additional appearance on behalf of

HSBC.

        106.   On May 14, 2015 a hearing was held on Defendants Amended Motion to Dismiss.

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       107.    At the hearing, David Standa from Locke Lord attempted to introduce an

endorsed note and make it part of the record. See excerpt from transcript below.

               “MR. STANDA” [Counsel for Plaintiff]: “...Mr. Palladino had challenged
               the endorsement on the back of the note, they said, well, the obligation then
               was on the Plaintiff to produce the note. That is exactly why I brought the
               original note here today… [ ] The fact is the note was endorsed in blank in
               possession of the trust on the date the complaint was filed… [ ] There’s a
               note that was endorsed in blank, is now especially endorsed to the Plaintiff
               that is here in front of your Honor. I’d represent to the Court that the Plaintiff
               has been in possession of the note the entire time. That establishes standing.
               There is no question. And that--That is the particular issue I want to address
               today.[ ]I understand if your Honor wants to brief me, but I would like to get
               this note back into a fire proof safe as fast as possible; and I don’t want to
               have to bring it back to court. So I want to address standing today.” Hrg.
               Transcr. p. 12, 13(May 14, 2015)

       108.    The court denied Mr. Palladino’s motion and the Court entered an order prepared

by Mr. Standa stating that Plaintiff had tendered the original note endorsed to it and that it has been

in possession of the original note throughout the pendency of the case, and has standing. Exhibit 12

       109.    On May 20, 2015, Mr. Palladino filed a response to HSBC Motion for a

Protective order.

       110.    June 11, 2015, Mr. Palladino filed a Motion to Clarify the May 14, 2015 order.

       111.    On June 20, 2015, Mr. Palladino rescinded the transaction, by sending notice of

rescission to Fremont and Ocwen. Exhibit 13

       112.    On July 17, 2015, the Court struck the portion of the order stating that HSBC had

standing, set a status date for September 16, 2015 and HSBC to produce discovery that had been

requested since March 2009. Exhibit 14

       113.    In paragraph two of the order, the Court specifically ordered HSBC to produce an

affidavit as to HSBC’s possession of the Note at the time of filing.

       114.    On September 16, 2015, Irina Dashevsky of Locke Lord LLP, sent an email to



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Jennifer Luczkowiak from Prairie State Legal and had attached to it, Plaintiff’s Affidavit of

Possession and corresponding exhibits, as well as Plaintiff’s initial production documents, bates

labeled HSBC000001-000868.the discovery pursuant to the July 17, 2015 order.

       115.    The email also had attached an affidavit from Howard H. Handville attesting that

Wells Fargo Bank, N.A. as Master Servicer, Trust Administrator and Swap Administrator had

physical possession of the original Note on September 13, 2006. Exhibit 15

       116.    The Note attached as Exhibit 1 was unendorsed.

       117.    On September 17, 2015 Irina Dashevsky sent an email to Jennifer which said:

                      “Hi, I just reviewed the copy of the Affidavit that I provided
                      to you and realized that Exhibit 1 inadvertently contains an
                      old copy of the Note, which had a blank endorsement. This
                      is not the true and correct copy of the Note. As I mentioned
                      earlier today, the Note has been specifically endorsed to
                      HSBC Bank. I apologize for any confusion this may have
                      caused. The Affidavit with the corrected exhibit is attached.
                      Please disregard the version I transmitted earlier.

                      To eliminate any confusion I am also sending you a hard copy
                      of this document via U.S. Mail.”

       118.    Upon information and belief, Irina realized that the Note attached to the Handville

was not endorsed so she switched the unendorsed Note for a Note that contained an endorsement.

       119.    The 2nd affidavit from Howard H. Handville now had a Note that was now endorsed

completely different from the Note on the 1st affidavit he provided. Exhibit 16

       120.    On September 17, 2015, Mr. Palladinos’ case was continued to November 19,

2015.Mr. Palladino, reviewed the Pooling and Servicing Agreement (“PSA”) that had been

tendered in discovery that he had been requesting since March 3, 2009.

       121.    Pursuant to Section 2.01 in regards to Conveyance of Mortgage Loans, the PSA

states the Depositor assigns and conveys to the Trustee the original Note bearing all endorsements

showing a complete chain of endorsements from the originator to the last endorsee, endorsed “Pay

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to the Order ___________, without recourse” and signed in the name of the last endorsee by an

authorized officer by the closing date. Exhibit 17

       122.    The Depositor for the Trust is Fremont Mortgage Securities Corporation and the

closing date was November 3, 2006.

       123.    The assignment alleges MERS as nominee for Fremont “did” assign (past tense) the

mortgage and note to HSBC Bank prior to November 13, 2008 which is two years after the

November 3, 2006 closing date for the Trust.

       124.    Fremont Mortgage Securities Corporation is responsible for assigning loans to the

Trust, not MERS as Nominee or Fremont as alleged in the mortgage assignment.

       125.    Pursuant to the PSA, the underwriting guidelines state that in order to be qualified

as A+ category, the bankruptcy must have been discharged at least 24 months and the maximum

debt-to-income ratio is 50%.

       126.    Based on the discovery that was finally tendered on September 15, 2014 and

September 16, 2015, Mr. Palladino was able to discover a scheme to defraud him and steal his

property.

                                    RICO ALLEGATIONS
                                   SCHEME TO DEFRAUD

       127.    Wells Fargo created a scheme to defraud which leveraged risk wherein the

money used to fund the scheme wasn’t the borrower’s payments, but the purchases of various

mortgage--‐backed (really not backed by anything) securities.

       128.    Wells Fargo carried out this scheme both in the origination of Mr. Palladinos’

mortgage loan, the creation and administration of the Trust, and in the filing of a wrongful

foreclosure in an attempt to steal Mr. Palladinos’ property to make a pure profit.




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       129.    Upon information and belief, the scheme was carried out as follows: Mr.

Palladino goes to FIL to get a loan. FIL sends him to a broker, Maywood Mortgage. Maywood

Mortgage gathers all his documents and then sends the file to FIL to approve the loan. Upon

information and belief, FIL pays Maywood Mortgage a fee and then wires the money to the title

company to fund his loan. Since the Palladinos’ technically didn’t qualify for the loan FIL

approved them for, FIL had to falsify their income, assets, and violate the underwriting

guidelines, HOEPA, and TILA to qualify them.

       130.    FIL who plays the role of the sponsor, originator, and seller purportedly sells Mr.

Palladinos’ loan to FMSC, who then in turns sells the loan to Fremont Home Loan Trust 2006-D.

FIL gets paid a fee for the service they have provided. Wells Fargo, who is the master servicer,

trust administrator and custodian for the trust acts like Mr. Palladinos’ loan conforms to the

Pooling and Serving Agreement guidelines that govern the Trust. For every payment Mr.

Palladino makes, Wells Fargo receives a fee for being the master servicer, trust administer, and

custodian. Wells Fargo already anticipates Mr. Palladino is going to default on the predatory

subprime loan so Wells Fargo takes out an insurance policy. (similar to life insurance)

       131.    On May 5, 2008, FIL files a complaint alleging Mr. Palladino defaulted on his

loan, but they voluntarily dismiss the complaint.

       132.    On November 17, 2008, HSBC Bank, USA who is the Trustee for the Trust files a

foreclosure complaint alleging it is the rightful owner. When standing is challenged, under the

direction of Wells Fargo, Pierce and Associates create an Assignment.

       133.    The assignment is falsely executed by Jill Rein because Fremont no longer

existed, Rein was not an employee for of MERS, and upon information and belief had no

authority to represent MERS and MERS had not authority to represent FIL.



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          134.   Upon information and belief, Wells Fargo has been paid by the insurance policy it

took out on Mr. Palladinos’ loan and in the event the home is sold, Wells Fargo still made a

profit.

          135.   Upon information and belief, it is Wells Fargo’s common business practice to

carry out the above scheme in nearly all the foreclosures it has filed.

                                       THE ENTERPRISE

          136.   The following persons constitute “persons” within the meaning of 18 U.S.C. §

1961 (3). Fremont Investment and Loan n/k/a Real Industry Inc. ("Fremont”) and Wells Fargo

Bank, N.A. (“Wells Fargo”).

          137.   Each person above was and is responsible for operating and managing the

business affairs of the enterprise described herein.

          138.   For instance, as alleged herein, Defendant Wells Fargo authorized HSBC as

Trustee to authorize a foreclosure against Mr. Palladino and the Law Firms to represent the Trust

in a foreclosure action. Wells Fargo also directed the servicers to impose and collect improper

fees and assist in filing false mortgage papers to effectuate the false foreclosure.

          139.   In addition, the Defendant Fremont authorized Maywood Mortgage to collect the

Palladinos’ documents to submit to FIL so FIL would fund it.

          140.   These activities, described above, also describe the manner with which each

Defendant conducted the affairs of the association in fact enterprise enumerated herein.

          141.   In order to foreclose on property belonging to Mr. Palladino, Defendants

employed a system that asserted demonstrably false claims, namely the documentation that

Defendants relied upon to effectuate the foreclosure did not show a viable chain of title.




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       142.    Collectively, the Trust (Fremont Home Loan Trust 2006-D), the Depositor

(Fremont Mortgage Securities Corp.), the Trustee (“HSBC Bank USA, N.A.) the Servicers

(Defendant Ocwen and Litton), the Law Firms (“Pierce and Associates, P.C., Locke Lord LLP”)

constitute an enterprise engaged in and whose activities affect interstate commerce. All of the

enterprises described in this paragraph are an “individual, partnership, corporation, association,

or other legal entity” and are therefore valid enterprises within the definition of § 1961(3) of the

RICO Act.

       143.    The enterprise has existed since 2006, when the Trust was allegedly created.

                PATTERN OF RACKETEERING AND PREDICATE ACTS

       144.    Section 1961(1) of RICO provides that “racketeering activity” includes any act

indictable under 18 U.S.C. §1341 (relating to mail fraud) and 18 U.S.C. §1343(relating to wire

fraud). As set forth below, Defendants have engaged, and continue to engage, in conduct

violating each of these laws to effectuate their scheme.

       145.    The pattern of racketeering activity, as evidenced by the predicate acts, began in

at least 2008, which is when the FDIC and other authorities cited in this Complaint evidence that

Fremont’s unfair and deceptive origination loans and Wells Fargo’s robo-signing and other

improper and illegal servicing and foreclosure practices were occurring.

        146. The pattern of racketeering activity has a viable threat of continuity, because

Wells Fargo continues to service not only the loans currently held by the Trust, but loans that

may or may not be held in other trusts and they are continuing to make huge profits.




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                    VIOLATIONS OF §1341 AND §1343, MAIL AND WIRE FRAUD

        147.     Defendant Wells Fargo agreed to and did conduct and participate in the conduct

of the enterprise’s affairs through a pattern of racketeering activity and for the scheme of

defrauding Mr. Palladinos’ property.

        148.     For purposes of executing and/or attempting to execute the above described

scheme to fraudulently foreclose upon Mr. Palladinos’ property, the Defendants, in violation of

18 U.S.C. §1341, placed or caused to be placed in post offices and/or in authorized repositories

matter and things to be sent or delivered by the Postal Service, caused matter and things to be

delivered by commercial interstate carrier, and received matter and things from the Postal

Service or commercial and interstate carriers, including but not limited to falsified, fraudulent,

and legally defective documents.

        149. The practices described in this complaint could not have occurred without the use

of the U.S. Mail and various wires including telephones and the Internet. The overwhelming

majority of the evidence of these mailings and wires are in the possession of the Defendants and

are not public documents. However, specific instances of such fraudulent mails and/or wires

regarding Mr. Palladinos mortgage include all of the court filings that included the fraudulent

endorsed note.

                                       AIDING AND ABETTING

        150. Pierce & Associates and Locke Lord have aided and abetted Wells Fargo in the

scheme to defraud Mr. Palladino in an attempt to steal his property and the courts by falsify

documents, attesting to their authenticity, making false statements to the court knowingly their

actions were false in order to cover the scheme by Wells Fargo in regards to standing and who

owns the Note.



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                                        COUNT I
                         VIOLATION OF RICO 18 U.S.C. § 1962(c)
                      (HSBC, Wells Fargo, Fremont, and the Enterprise)

        151. Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

        152. In violation of 18 U.S.C. §1962(c), Wells Fargo, Fremont and the Enterprise

conducted, or participated in the conduct of an enterprise through a pattern of racketeering

activity and through the use of wire and mail by: 1) filing a foreclosure against Mr. Palladino

despite its lack of interest in the mortgage and Note; 2) drafting and filing a fraudulent mortgage

assignment thus misrepresenting his loan had been properly assigned to the Trust and serving it

upon him; 3) giving him a predatory loan and fraudulently concealing this information because

the PSA underwriting guidelines confirmed that the loan violated the debt-to-income ratios and

bankruptcy discharge seasoning allowed by the PSA; and by foreclosing on his home even

though they had no right to.

        153. Mr. Palladino has been injured because he has to incur attorney fees in excess of

$80,000.00 to defend the foreclosure based on the Defendants scheme to defraud him and take

his property.

          WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court grant:

                       (1) Statutory damages;

                       (2) Litigation expenses and costs of suit;

                       (3) Punitive Damages;

                       (4) Set off or Recoupment;

                       (5) Treble Damages;

                       (6) Attorney fees and

                       (7) Such other or further relief as the Court deems proper.



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                                          COUNT II
                    Violation of the Federal RICO Act, 18 U.S.C. §1962(d)
                     ((HSBC, Wells Fargo, Fremont, and the Enterprise)

       154.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       155.    Defendants conspired to originate a predatory loan, one that was bound to default

and lead to foreclosure. The Defendants Wells Fargo, Pierce and Associates, Locke Lord, and

Ocwen conspired to draft and execute a false assignment and endorsement in the foreclosure

proceedings to seize Mr. Palladinos’ property. This conspiracy violates 18 U.S.C. § 1962(d).

       156.    Specifically, the Defendants conspired with the Law Firms and the servicers to use

the Enterprise via the DuPage County Court to file a wrongful foreclosure and to fabricate

documents in an attempt to steal Mr. Palladinos’ property. Defendants conspired to utilize this

illegal scheme to enrich themselves at Mr. Palladinos’ expense.

       157.    The Defendants intentionally conspired and agreed to conduct and participate in

the conduct of the affairs of the Enterprise through a pattern of racketeering activity. Defendants

knew their predicate acts were part of a pattern of racketeering activity and agreed to the

commission of those acts to further the scheme. That conduct constitutes a conspiracy to violate 18

U.S.C. § 1962(c) in violation of 18 U.S.C. § 1962(d).

        158.   Defendants are therefore liable to Mr. Palladino under the federal RICO Act.

           WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court grant:

                       (1) Actual damages;

                       (2) Litigation expenses and costs of suit;

                       (3) Punitive Damages;

                       (4) Treble Damages;

                       (5) Attorney fees; and

                       (6) Such other or further relief as the Court deems proper.

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                                           COUNT III
                                         Civil Conspiracy

       159.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       160.    This claim is against HSBC, Wells Fargo, Fremont, Peirce and Associates, Ocwen

and Locke Lord.

       161.    Defendants Wells Fargo conspired with Fremont to arrange and produce a loan

that Mr. Palladino could not afford by falsifying the 1003 loan application.

       162.    Wells Fargo then conspired with HSBC to file a foreclosure action against Mr.

Palladino by retaining the Law Firm of Pierce and Associates.

       163.    Because HSBC did not have the proper documentation to file its complaint, HSBC

and Wells Fargo together conspired with Pierce and Associates to create a fraudulent assignment

and endorsed note.

       164.    Defendants conspired out of excessive concern for their own fees, profits, and

corporate greed to misrepresent and conceal who the actual owner of Mr. Palladino’s loan is.

       165.    Mr. Palladino has been damaged as a result by incurring attorney fees in excess of

$80,000.00, and emotional distress.

          WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court grant:

                      (1) Actual damages;

                      (2) Litigation expenses and costs of suit;

                      (3) Punitive Damages;

                      (4) Treble Damages;

                      (5) Attorney fees; and

                      (6) Such other or further relief as the Court deems proper.




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                                           COUNT IV
                                       Aiding and Abetting
                               Pierce & Associates and Locke Lord

       166.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       167.    Pierce and Associates and Locke Lord knowingly induced, participated and

assisted HSBC and Wells Fargo in actively and deliberately defrauding Mr. Palladino and the

Courts through the fraudulent assignments and fabricated endorsed Note.

       168.    As a result of the above Defendants aiding and abetting Wells Fargo and HSBC’s

fraudulent assignment and endorsements, Mr. Palladino has been in active litigation for over

seven years and has suffered severe financial and emotional distress.

       WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court grant:

                      (1) Actual damages;

                      (2) Litigation expenses and costs of suit;

                      (3) Punitive Damages;

                      (4) Treble Damages;

                      (5) Attorney fees; and

                      (6) Such other or further relief as the Court deems proper.

                                           COUNT V
                                Truth in Lending Act (Rescission)
                                      Fremont and Ocwen

       169.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       170.    This consumer credit transaction was subject to Mr. Palladinos’ right of rescission

as described by 15 U.S.C. §1635 and Regulation Z § 226.23 (12 C.F.R. § 226.23)

       171     Mr. Palladino has a continuing right to rescind the transaction until the third

business day after receiving all material disclosures, up to three years after consummation of the



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transaction, pursuant to 15 U.S.C. § 1635(a) and Regulation Z § 226.23(a)(3).

       172.    On June 20, 2015, Mr. Palladino rescinded the transaction, by sending notice of

rescission to Fremont and Ocwen.

       173.    More than 20 calendar days have passed since Defendants received Plaintiff’s

notice of rescission.

       174.    Defendants have failed to take any action necessary or appropriate to reflect the

termination of any security interest created by the transaction, as required by 15 U.S.C. § 1635(b)

and Regulation Z § 226.23(d)(2).

       175.    Defendants have failed to return to Plaintiff any money or property given by Mr.

Palladino to anyone, including Defendants, as required by 15 U.S.C. § 1635(b) and Regulation Z

§ 226.23(d)(2).

       176.    Defendant Ocwen, as servicer is also liable pursuant to 15 U.S.C. § 1641.

       177.    As a result of these violations of the Truth in Lending Act and Regulation Z,

Defendants are liable to Plaintiff for:

               a. Rescission of the transaction pursuant to 15 U.S.C. §1635(b).

               b. Termination of any security interest in Plaintiff’s property created by the

transaction pursuant to 15 U.S.C. §1635.

               c. Return of any money or property given by the Plaintiff to anyone, including

Defendants, in connection with this transaction, under 15 U.S.C. § 1635(b).

               d. Statutory damages of $2000 for Defendants’ failure to respond properly to

Plaintiff’s rescission notice pursuant to 15 U.S.C. § 1640(a)(2)(A).

               e. Forfeiture of return of loan proceeds under 15 U.S.C. § 1635.

               f. Actual damages in an amount to be determined pursuant to 15 U.S.C. § 1640.



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               g. Costs in accordance with 15 U.S.C. § 1640.

       WHEREFORE, Mr. Palladino requests the following relief:

                      (1) Declaratory and/or injunctive relief rescinding the mortgage on Mr.

Palladinos’ home upon such terms as the court determines;

                      (2) Termination of the Security interest;

                      (3) Return any money or property given by Mr. Palladino, including

Defendants in connection with this transaction

                      (4) Actual damages in an amount to be determined by the court; and

                      (5) Statutory damages in the amount of $2000.

                      (6) Reasonable attorney fees.

                                     COUNT VI
                      Home Ownership Equity Protection Act (“HOEPA”)
                                   Fremont and Ocwen

       178.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       179.    In 1994, Congress enacted the Home Ownership Equity Protection Act

(“HOEPA”) which is codified at 15 USC sec. 1639 et seq. with the intention of protecting

homeowners from predatory lending practices targeted at vulnerable consumers. HOEPA requires

lenders to make certain defined disclosures and prohibits certain terms from being included in

home loans. In the event of noncompliance, HOEPA imposes civil liability for rescission and

statutory and actual damages.

       180.    Plaintiff is a “consumer” and Defendants Fremont and Ocwen are “creditors” as

defined by HOEPA.

       181.    Defendants Fremont and Ocwen violated HOEPA by numerous acts, material

omissions, and a pattern of fraudulent concealment, including but not limited to engaging in a



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pattern and practice of extending credit to the Palladinos’ without regard to their ability to repay

in violation of 15 USC sec. 1639(h).

        182.   By virtue of the Defendants’ Fremont and Ocwen violations of HOEPA, Mr.

Palladino has a legal right to rescind the consumer credit transaction the subject of this action

pursuant to 15 USC sec. 1635.

        183.   Defendants Fremont and Ocwen further violated HOEPA by failing to make

additional disclosures, including but not limited to the failure of said Defendants to provide an

accurate TIL disclosure which failure was executed through a pattern of fraudulent concealment

and intentional nondisclosure.

        184.   As a direct consequence of and in connection with Plaintiffs’ legal and lawful

exercise of their right of rescission, the true “lender” and its agents, including Defendant Ocwen

and, to the extent necessary, Defendant Fremont, is required, within twenty (20) days of this

Notice of Rescission, to:

               (a) desist from making any claims for finance charges in the transaction;

               (b) return all monies paid by Plaintiffs in connection with the transaction to the

Plaintiff;

               (c) satisfy all security interests, including mortgages, which were acquired in the

transaction.

        185.   Upon the true “lender’s” full performance of its obligations under HOEPA

(including any necessary actions of Defendants Fremont and Ocwen as agents of the lender),

Plaintiff shall tender any sums to which the true lender is legally entitled.

        WHEREFORE, Mr. Palladino requests the following relief:                 :

                       (1) rescission of the mortgage loan transactions;



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                         (2) termination of the mortgage and security interest in the property the

subject of the mortgage loan documents created in the transaction;

                         (3) return of any money or property paid by the Plaintiffs including all

payments made in connection with the transactions;

                         (4) an amount of money equal to twice the finance charge in connection

with the transactions;

                         (5) relinquishment of the right to retain any proceeds; and

                         (6) actual damages in an amount to be determined at trial, including

attorneys’ fees.

                                     COUNT VII
                         Home Ownership Equity Protection Act (“HOEPA”)
                                     (Disclosure Statement)
                                            Fremont

        186.       Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

        187.       The Truth in Lending Disclosure statement provided at the August 28, 2006

disclosed an amount financed of $309,690.50, a finance charge of $666,097.23, an annual

percentage rate of 9.32% and a security interest in the property.

       188.    The payment schedule is shown below:

  Payments                 Payment             Payments Begin
        36          $1,567.50                  11/1/06
        323         $2,553.14                  11/1/09
        1           $2,551.12                  10/1/36


       189.    However, the loan was an adjustable rate mortgage interest at 7.19% until

September 2009 when the interest rate was subject to change every six months, up to a maximum

of 13.19%.



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         190.   HOEPA loans whose interest rates are not fixed must disclose “the amount of the

maximum monthly payment, based on the maximum interest rate.” 15 U.S.C. § 1639(a)(2)(B)

         191.   The rate was scheduled to increase after three years, and then change every six

months thereafter. The correct disclosure is shown below.

  Payments        Payment amount                 Rate
  1-36            $1,879.39                      7.19%
  37-42           $2,845.96                      10.19
  43-48           $3,189.19                      11.69%
  49-360          $3540.53                       13.19

         192.   Fremont’s failure to give the Palladinos’ the material disclosures as required by

TILA violates 15 U.S.C. § 1638, entitling Mr. Palladino to actual and statutory damages under 15

U.S.C. § 1640(a) and extending the right to rescind until proper delivery of all material

disclosures.

         WHEREFORE, Mr. Palladino requests the following relief:

                       (1) Rescission of the transaction, including a declaration that Mr. Palladino

is not liable for any finance charges or other charges imposed by Fremont;

                       (2) A declaration that the security interest is void;

                       (3) Return any money or property given by Mr. Palladino, including

Defendants in connection with this transaction

                       (4) Actual damages in an amount to be determined by the court; and

                       (5) Statutory damages in the amount of $6,000 (consisting $2,000.0 for

disclosure violation, $2,000 for failure to rescind, and $2,000 for lending without an ability to

repay.                 (6) Reasonable attorney fees.




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                                            COUNT VIII
                 Violations of the Illinois Consumer Fraud Act (Deceptive)
          HSBC, Fremont, Wells Fargo, Pierce & Associates, Ocwen and Locke Lord
                                          Defendants

       193.    Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

       194.    Defendants violated 815 ILCS 505/2 by engaging in unfair acts and practices to

collect a superseded debt.

        195. It was deceptive for Defendants to do the following:

                      a) try and make an mortgage assignment and endorsed Note part of the record
                         after the complaint was
                         filed;
                      b) to falsify an affidavit alleging HSBC had been in possession of the
                         endorsed Note since the filing of the foreclosure complaint;
                      c) to qualify the Palladinos’ for a loan they could not afford by violating the
                         guidelines in the prospectus;
                      d) to file a wrongful foreclosure when HSBC knew it did not have standing;
                      e) to violate the mortgage settlement and the Residential Mortgage License
                         Act by using signature stamps;
                      f) by failing to send the affidavit back to the affiant for re-execution; and
                      g) to prolong the foreclosure along for the last nine years and causing Mr.
                         Palladino to have to pay over $80,000.00 in attorney fees and costs.

       196.    Mr. Palladino has been in constant fear and worry of losing this home which has

sentimental value to him and his family.

       197.    Defendants scheme caused Mr. Palladino substantial damage in that, among other

things: (a) he has lost his wife, (b) credit has been damaged, (c) and he has suffered severe

emotional distress.

       198.    Defendants conduct occurred in the course of trade or commerce.

       199.    Defendants engaged in unfair conduct by violating the public policy of Illinois and

the federal guidelines enacted by Congress.

       200.    Defendants actions were the proximate cause of the damages to Mr. Palladino and

he has injured because he has incurred legal costs and fees to defend a foreclosure action.

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        201.     An award of punitive damages is appropriate because Defendants conduct was

outrageous, willful, and wanton, and it showed a reckless disregard for the rights of Mr. Palladino

over the nine year period.

        WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court:

                          (1) Statutory damages;

                          (2) Litigation expenses and costs of suit; and

                          (3) Punitive Damages

                          (4) Such other or further relief as the Court deems proper.

                                        COUNT IX
                        Intentional Infliction of Emotional Distress
            HSBC, Fremont, Wells Fargo, Pierce & Associates, Ocwen and Locke Lord
                                         Defendants

        202.     Mr. Palladino incorporates all preceding paragraphs as if fully set forth herein.

        203.     The four elements of this tort are (1) extreme and outrageous conduct by the defendant; (2)

intent by the defendant to cause, or a reckless disregard of the probability of causing, emotional distress; (3)

severe or extreme emotional distress suffered by the plaintiff; and (4) an actual and proximate causal

connection between the emotional distress and the defendant’s outrageous conduct. Debolt v. Mutual of

Omaha, 56 Ill.App.3d 111, 371 N.E.2d 373, 13 Ill. Dec. 656 (3d Dist. 1978).

        204.     Defendants conduct alleged herein, specifically the willful and knowingly

fraudulently scheme to falsify the loan application, TILA, debt-to-income ratios, assignment, and

produce an endorsed note all in an effort to steal Mr. Palladinos’ home caused him severe and

emotional distress.

        205.     As a result of Defendants conduct, Mr. Palladino endured severe and extreme emotional

distress that resulted in stress, jail time, anxiety and a judgment for dissolution of marriage.




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        206.    As a direct and proximate result of Defendants willful and wanton conduct Mr. Palladino

suffered emotional distress, monetary losses and has been damaged in excess of $300,000.00.

        WHEREFORE, Mr. Palladino respectfully requests that this Honorable Court:

                (1) Actual damages;

                (2) Litigation expenses and costs of suit;

                (3) Punitive Damages for Defendants willful and wanton conduct; and

                (4) Such other or further relief as the Court deems proper.

JURY DEMAND: Mr. Palladino demands a trial by jury.

                                                                Respectfully submitted,


                                                                By: /s/ Herbert Hill
                                                                One of Mr. Palladinos’ Attorneys



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